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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF CONNECTICUT


UNITED STATES OF AMERICA          :
                                  :
          v.                      :           Crim. No. 3:99CR264(AHN)
                                  :
LUKE JONES                        :



                        ORDER ON CROSBY REMAND

     Now pending before the court is Luke Jones's ("Jones")

motion for resentencing [doc. # 2194].       On October 18, 2006,

following its decision in United States v. Crosby, 397 F.3d 103

(2d Cir. 2005), and the Supreme Court's decision in United States

v. Booker, 543 U.S. 220 (2005), the Second Circuit ordered a

limited remand "in order to allow the district court to consider

whether the sentence imposed on Jones would have been

nontrivially different if, at the time of sentencing, the

Guidelines had been advisory."        United States v. Jones, 482 F.3d

60 (2d Cir. 2006).

     On a Crosby remand, such as this, the court is required to

determine whether it would have "imposed a materially different

sentence, under the circumstances existing at the time of the

original sentence, if the judge had discharged his or her

obligations under the post-Booker/Fanfan regime and counsel had

availed themselves of their new opportunities to present relevant

considerations . . . ."      Crosby, 397 F.3d at 117.         "In making

that threshold determination, the District Court should obtain
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the views of counsel, at least in writing, but need not require

the presence of the defendant . . . ."       Id. at 120.       When

reaching a decision about whether to resentence, the court need

not hold a hearing.    Id.

     Having now considered Jones's pro se written submission

[doc. # 2194] and his counsel's April 26, 2007 letter, the court

finds that considering the advisory nature of the Sentencing

Guidelines and the factors listed in 18 U.S.C. § 3553(a), it

would have imposed the same sentence as the sentence it

originally imposed, that is, life imprisonment on counts 1, 2, 5

and 6 and ten years on counts 18 and 21.        The court has

considered Jones's arguments that his criminal history should be

considered in light of his difficult upbringing, that grouping

various counts under the Sentencing Guidelines resulted in an

excessive finding of the amount of narcotics attributable to him,

and that the sentence imposed by the Sentencing Guidelines under

§§ 2A1.5(c)(1) and 2A1.1(a) was "incongruent" with the statutory

penalty for conspiracy to commit murder in aid of racketeering.

Nevertheless, the court finds that it would again adopt the

Sentencing Guidelines calculations described in the Presentence

Report, which resulted in a total offense level of 50, well above

the maximum offense level under the Sentencing Guidelines.

Further, even if the court imposed a nonguidelines sentence, such

a sentence would not have been materially different from the


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sentence the court already imposed because of the extensive

evidence of Jones's leadership role in a violent drug-trafficking

organization and his involvement in two murders.

     At the time of Jones's sentencing, the court made the

following comments, which reflect the court's view today,

especially in light of the advisory nature of the Sentencing

Guidelines:

          I agree with all of those criticisms that have
          been leveled at the guidelines, and I myself,
          on more than one occasion from this bench,
          have voiced such criticism, but in your case,
          your case is different.

          The sentence that's called for by the
          guidelines in your case is well deserved. The
          evidence of your guilt of the drug charges is
          overwhelming. You were the leader of a drug
          distribution ring at P.T. Barnum that fed
          cocaine, crack, heroine, marijuana into the
          Bridgeport community for many years, and
          poisoned hundreds, if not thousands, of
          people,   including  young   children,   young
          teenagers who were started on the road to drug
          addiction   by   narcotics   that   you   were
          responsible for distributing.

          How many lives did you destroy as a result of
          the poison that you fed into the streets of
          Bridgeport?   But you weren't satisfied with
          destroying lives through the drug trade. You
          were a murderer as well.     You killed your
          first victim when you were only seventeen
          years old . . . .

          In this case, you were charged with killing
          Anthony Scott and Montaneal Lawrence.      The
          jury acquitted you of the Scott murder, but
          there is absolutely no doubt in the Court's
          mind, that you were guilty of that murder and
          you committed that murder and you participated
          in that murder.

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          As to Montaneal Lawrence – the murder of
          Montaneal Lawrence, I venture to say that this
          Court never presided at a trial – has never
          presided at a trial and heard evidence of such
          a cold-blooded murder of an innocent victim,
          as was your murder of Montaneal Lawrence, and
          what was Montaneal Lawrence's crime? He got
          drunk . . . and solely on the word of your
          girlfriend, Shonte Fuell (phonetic), who told
          you that Mr. Lawrence spoke disrespectfully to
          her, you shot and killed him in cold blood
          with witnesses all around, including small
          children, and then, after you murdered him in
          cold blood, you walked out the door, down the
          stairs, turned around and said, "Sorry," and
          continued outside.      That was your sole
          expression of remorse for the cold-blooded
          murder of an innocent man . . . .

(Sentencing Hr'g Tr. 31:10-33:8, Jan. 7, 2004).          For these

reasons, the court finds that it would not have sentenced Jones

to a materially different sentence if, at the time of sentencing,

the Guidelines had been advisory.        The court, therefore, DENIES

his motion for resentencing [doc. # 2194].

     SO ORDERED this day 5th day of June, 2007 at Bridgeport,

Connecticut.

                                              /s/
                                  Alan H. Nevas,
                                  United States District Judge




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